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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

ARBUTUS BIOPHARMA CORPORATION                           :
and GENEVANT SCIENCES GMBH,                             :
                                                        :       CIVIL ACTION
                                Plaintiffs,             :
                                                        :
                v.                                      :
                                                        :       NO. 22-252
MODERNA, INC. and MODERNATX, INC.,                      :


                                               ORDER

        AND NOW, this 3rd day of April, 2024, upon consideration of the parties’ Joint Claim

Construction Brief (Doc. No. 170) and following a claim construction hearing, it is hereby ORDERED

that the disputed claim terms in this case are construed as follows:


 Claim Term                                          Court’s Construction

 “___ mol % of the total lipid present in the “___ mol % of the total lipid present in the
 particle”                                    particle”

                                                     The recited “mol %” ranges are understood to
                                                     encompass their standard variation based on the
                                                     number of significant figures recited in the claim.

 “a cationic lipid having a protonatable tertiary    Plain and ordinary meaning, i.e., a “cationic lipid
 amine”                                              having a protonatable tertiary amine.”
 “wherein at least 70% / at least 80% / about 90%    “wherein at least 70% /at least 80% / about 90%
 of the mRNA in the formulation is fully             of the mRNA in the formulation is fully, as
 encapsulated in the lipid vesicles”                 distinct from partially, contained inside the lipid
                                                     vesicles.”


                                                BY THE COURT:



                                                __/s/ Mitchell S. Goldberg_____________________
                                                MITCHELL S. GOLDBERG,                     J.
